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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )
                                             )
v.                                           )      Case No. CR-24-452-D-2
                                             )
JACOB ALAN KING,                             )
                                             )
                    Defendant.               )

                    PRELIMINARY ORDER OF FORFEITURE

      Before the Court is the government’s Motion for a Preliminary Order of Forfeiture

[Doc. No. 92]. Under Federal Rule of Criminal Procedure 32.2, and based upon the

evidence already in the record, including Defendant Jacob Alan King’s plea of guilty, the

Court makes the following determinations:

      As a result of his guilty plea entered on March 20, 2025, to Counts 2 and 3 of the

Indictment filed on October 15, 2024 [Doc. No. 1], in which the government sought

forfeiture, Defendant Jacob Alan King shall forfeit to the United States any firearms and

ammunition involved in the commission of the offense, including, but not limited to, the

following:

             a.     a Smith & Wesson, model SD40 VE, .40 caliber pistol, bearing serial
                    number FDU8580;

             b.     a Radical Firearms, model FR-15, multi-caliber rifle, bearing serial
                    number 2-002776;

             c.     a Smith & Wesson, model SD9, 9mm caliber pistol, bearing serial
                    number FDW4308;
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              d.     an Arms Corp. of the Philippines (Rock Island Armory), model
                     M1911 A1-FS, .45 caliber pistol, bearing serial number RIA2370665;

              e.     a FMK Firearms, model 9C1 G2, 9mm caliber pistol, bearing serial
                     number BB25074; and

              f.     any and all ammunition and magazines not specifically listed.

       The Court has determined, based on Defendant’s plea, that the above specific

property (hereinafter the “Subject Property”) is subject to forfeiture pursuant to 18 U.S.C.

§ 924(d), and 28 U.S.C. § 2461(c), and that the United States has established the requisite

nexus between the Subject Property and the offenses to which Defendant pled guilty.

       The entry of this Preliminary Order of Forfeiture authorizes the United States

Attorney General (or a designee) to seize the Subject Property or to take any actions

allowed under FED. R. CRIM. P. 32.2(b)(3). The entry of this Preliminary Order of

Forfeiture also authorizes the United States to commence any applicable proceedings to

comply with 21 U.S.C. § 853(n) governing third-party rights, including giving notice of

this Order.

       The United States shall publish on the government’s official Internet website,

www.forfeiture.gov, in accordance with Rule G(4) of the Supplemental Rules for

Admiralty or Maritime Claims and Asset Forfeiture Actions, a copy of this order and notice

of the intent of the United States to dispose of the Subject Property in such a manner as the

Attorney General may direct. The government may also, to the extent practicable, provide

written notice to any person known to have an alleged interest in the Subject Property,

pursuant to 21 U.S.C. § 853(n)(1).


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       The government’s notice must comply with FED. R. CRIM. P. 32.2(b)(6). Because

the Court orders the forfeiture of specific property, the United States must publish notice

of this order and send notice to any person who reasonably appears to be a potential

claimant with standing to contest the forfeiture in the ancillary proceeding.

       Any person, other than Defendant Jacob Alan King, asserting a legal interest in the

Subject Property may, within thirty (30) days of the final publication of notice or receipt

of notice under 21 U.S.C. § 853(n)(1), whichever is earlier, petition the Court for a hearing

without a jury to adjudicate the validity of his or her alleged interest in the Subject Property,

and for an amendment of the order of forfeiture, pursuant to 21 U.S.C. § 853(n)(2)–(6).

       Pursuant to FED. R. CRIM. P. 32.2(b)(4), this Preliminary Order of Forfeiture shall

become final as to Defendant Jacob Alan King at sentencing—or before sentencing if

Defendant consents—and the Court must include the forfeiture when orally announcing

the sentence or must otherwise ensure that Defendant knows of the forfeiture at sentencing.

The Court must also include the forfeiture Order, directly or by reference, in the judgment.

If no third-party files a timely claim, this Order shall become the Final Order of Forfeiture,

as provided by FED. R. CRIM. P. 32.2(c)(2).




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       Any petition filed by a third party asserting an interest in the Subject Property shall

be signed by the petitioner under penalty of perjury and shall set forth the nature and extent

of the petitioner’s right, title, or interest in the Subject Property, the time and circumstances

of the petitioner’s acquisition of the right, title, or interest in the Subject Property, and any

additional facts supporting the petitioner’s claim and the relief sought, pursuant to

21 U.S.C. § 853(n)(3).

       The United States shall have clear title to the Subject Property following the Court’s

disposition of all third-party interests, or, if none are asserted, following the expiration of

the period provided in 21 U.S.C. § 853(n), for the filing of third-party petitions, pursuant

to 21 U.S.C. § 853(n)(7).

       The Court shall retain jurisdiction to enforce and amend this Order as necessary

pursuant to FED. R. CRIM. P. 32.2(e).

       IT IS SO ORDERED this 27th day of May, 2025.




                                                 TIMOTHY . DeGIUSTI
                                                 Chief United States District Judge




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